Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 1 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 2 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 3 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 4 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 5 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 6 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 7 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 8 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 9 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 10 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 11 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 12 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 13 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 14 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 15 of 16
Case 1:22-cv-01292-TNM Document 1 Filed 05/12/22 Page 16 of 16
